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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 IN RE: DAVOL, INC./C.R. BARD, INC.,
                                                     Case No. 2:18-md-2846
 POLYPROPYLENE HERNIA MESH
 PRODUCTS LIABILITY LITIGATION
                                                     CHIEF JUDGE EDMUND A. SARGUS, JR.
                                                     Magistrate Judge Kimberly A. Jolson


 This document relates to:
                                                     Civil Action No._________________
 LANA SHULTZ


                                 SHORT FORM COMPLAINT

       Plaintiff(s) file(s) this Short Form Complaint pursuant to Case Management Order No. 9

and is/are to be bound by the rights, protections, and privileges and obligations of that Order.

Plaintiff(s) hereby incorporate(s) the Master Complaint in MDL No. 2846 by reference.

Plaintiff(s) further show(s) the Court as follows:

1.     The name of the person implanted with Defendants’ Hernia Mesh Device(s):

       Lana Shultz

2.     The name of any Consortium Plaintiff (if applicable):

        N/A

3.     Other Plaintiff(s) and Capacity (i.e., administrator, executor, guardian, conservator):

       N/A

4.     State of Residence:

       West Virginia

5.     District Court and Division in which action would have been filed absent direct filing:

       United States District Court, Northern District of West Virginia
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6.     Defendants (Check Defendants against whom Complaint is made):

             A. Davol, Inc.

             B. C.R. Bard, Inc.

             C. Other (please list: ______________________________________________)

7.     Identify which of Defendants’ Hernia Mesh Device(s) was/were implanted (Check
       device(s) implanted):

             3DMax Mesh

             3DMax Light Mesh

             Bard (Marlex) Mesh Dart

             Bard Mesh

             Bard Soft Mesh

             Composix

             Composix E/X

             Composix Kugel Hernia Patch

             Composix L/P

             Kugel Hernia Patch

             Marlex

             Modified Kugel Hernia Patch

             Perfix Light Plug

             PerFix Plug

             Sepramesh IP

             Sperma-Tex

             Ventralex Hernia Patch

             Ventralex ST Patch

             Ventralight ST

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             Ventrio Patch

             Ventrio ST

             Visilex

             Other (please list in space provided below):

            _______________________________

            _______________________________

8.     Defendants’ Hernia Mesh Device(s) about which Plaintiff is making a claim (Check
       applicable device(s)):

             3DMax Mesh

             3DMax Light Mesh

             Bard (Marlex) Mesh Dart

             Bard Mesh

             Bard Soft Mesh

             Composix

             Composix E/X

             Composix Kugel Hernia Patch

             Composix L/P

             Kugel Hernia Patch

             Marlex

             Modified Kugel Hernia Patch

             Perfix Light Plug

             PerFix Plug

             Sepramesh IP

             Sperma-Tex


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              Ventralex Hernia Patch

              Ventralex ST Patch

              Ventralight ST

              Ventrio Patch

              Ventrio ST

              Visilex

              Other (please list in space provided below):

             _______________________________

             _______________________________


9.     Date of Implantation and state of implantation: April 25, 2012 in Virginia.


10.    As of the date of filing this Short Form Complaint, has the person implanted with
       Defendants’ Hernia Mesh Device(s) had subsequent surgical intervention due to the
       Hernia Mesh Device(s)?:     Yes_X_       No____


11.    Basis of Jurisdiction:

              Diversity of Citizenship

              Other: __________________________________

12.    Counts in the Master Complaint adopted by Plaintiff(s):

              Count I – Strict Product Liability- Defective Design

              Count II – Strict Product Liability- Failure to Warn

              Count III – Strict Product Liability- Manufacturing Defect

              Count IV– Negligence

              Count V– Negligence Per Se

              Count VI– Gross Negligence

              Count VII – State Consumer Protection Laws (Please identify applicable State
              Consumer Protection law(s)):

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             Count VIII – Breach of Implied Warranty

             Count IX – Breach of Express Warranty

             Count X – Negligent Infliction of Emotional Distress

             Count XI – Intentional Infliction of Emotional Distress

             Count XII – Negligent Misrepresentation

             Count XIII – Fraud and Fraudulent Misrepresentation

             Count XIV – Fraudulent Concealment

             Count XV – Wrongful Death

             Count XVI – Loss of Consortium

             Count XVII – Punitive Damages

             Other Count(s) (please identify and state factual and legal bases for
             other claims not included in the Master Complaint below):




             Jury Trial is Demanded as to All Counts

             Jury Trial is NOT Demanded as to All Counts; if Jury Trial is
             Demanded as to Any Count(s), identify which ones (list below):




                                                   /s/ Stephen G. Skinner
                                                             Attorney(s) for Plaintiff
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West Virginia Bar No. 6725

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